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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION
 ___________________________________________

 IN RE COOK MEDICAL, INC., IVC FILTERS                   Case No. 1:14-ml-2570-RLY-TAB
 MARKETING, SALES PRACTICES AND                          MDL No. 2570
 PRODUCTS LIABILITY LITIGATION
 ___________________________________________

 This document relates to:
 26 Cases Listed in Exhibit A to Opening Motion (Dkt. 11921)
 ___________________________________________

      COOK DEFENDANTS’ AMENDED REPLY MEMORANDUM IN SUPPORT OF
               OMNIBUS MOTION FOR SUMMARY JUDGMENT
             BASED ON APPLICABLE STATUTE OF LIMITATIONS




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          Plaintiffs filed their actions against Cook more than two years after they underwent open

 surgical procedures involving mid-line abdominal incisions to surgically remove their Cook

 IVC filters.1 None of these Plaintiffs disputes the date of their open surgical procedure or the

 date they commenced their action. Indiana’s statute of limitations therefore bars Plaintiffs’

 claims as a matter of law. Plaintiffs’ responses to Cook’s motion offer no legal basis to deny

 Cook’s motion and identify no material issues fact that would defeat summary judgment. The

 Court has already rejected many of Plaintiffs’ arguments, and the remainder are inconsistent with

 Indiana law and federal procedure. The Court should therefore enter summary judgment for

 Cook in these cases.

 I.       Cook Withdraws Its Motion as to One Case, and Decision in Two Other Cases
          Should Be Deferred.

          Cook withdraws its motion for summary judgment in the Benjamin Auerbach case, No.

 1:17-cv-04218 (case No. 16 on Exhibit A). The case was dismissed for failure to categorize, see

 Dkt. 10622, and a motion for reconsideration is pending, see Dkt. 11340.         Should the Court

 grant reconsideration and reinstate the case, Cook reserves the right to renew its motion.

          In addition, Cook and the Toriseva Law Firm have agreed to an extension for responsive

 briefing in two cases. The issues thus are not yet ripe with respect to these two cases because

 they have not been fully briefed, and decision in these cases should be deferred.

      Case No. on   Plaintiff                            Case Number
       Exhibit A
           4        Dunning, Rosemary & Arthur           1:15-cv-00235
           3        Keltner, Douglas                     1:15-cv-00102




 1
  Cook submits this Amended Reply to correct potentially misleading clerical errors that
 appeared in the original motion, Dkt. 12443.

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 II.      Cook is Entitled to Summary Judgment as to Plaintiffs Who Filed No Response to
          Cook’s Motion.

          In two cases, Plaintiffs have filed no response to Cook’s motion. Those cases are:

   Case No. on Plaintiff                  Case No.            Plaintiff’s attorney
   Exhibit A
        2      Wells, Marie and           1:14-cv-00841       Hovde Dassow & Deets, LLC
               Richard
        1      Elder, Regina and          1:14-cv-00784       Hovde Dassow & Deets, LLC
               Thomas

          Cook is entitled to summary judgment as to Plaintiffs’ claims in those cases in which

 Plaintiffs filed no response.

 III.     The Court Has Already Rejected Plaintiffs’ Arguments that Their Claims Are
          Governed by the Statutes of Limitations of Their Home States, Rather Than the
          Statute of Limitations of Indiana.

          Many Plaintiffs argue in their responses that the Court should apply the statutes of

 limitations of their home states rather than that of Indiana, arguing that Cook is judicially

 estopped from arguing for the application of Indiana’s statute of limitations based on its earlier

 position in the Graham case, see Dkts. 12236, 12250, 12267, 12269, 12284, 12295, 12299,

 12300, 12301, 12303, 12305, 12306, 12307, and 12309, and/or that their home states’ laws apply

 based on Dobbs v. DePuy Orthopedics, Inc., 842 F.3d 1045 (7th Cir. 2016), and related cases,

 see Dkts. 12229, 12236, 12248, 12250, 12267, 12269, 12284, 12295, 12298, 12299, 12300,

 12301, 12303, 12305, 12306, 12307, and 12309.

          The Court has already considered and rejected both of Plaintiffs’ arguments in an

 identical context. In its decision on Cook’s previous omnibus motion for summary judgment

 based on the statute of limitations in other time-barred cases, Dkt. 11725, The Court held:

          After listening to the parties’ oral argument, the court finds, under the unique
          circumstances of this case, that judicial estoppel does not bar Cook from arguing
          the application of Indiana’s choice-of-law rules. The court further finds that
          Indiana law applies. The cases at issue were originally filed in the Southern


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          District of Indiana, Indianapolis Division, and are not “direct-filed” cases—i.e.,
          cases treated as if they originated in the plaintiff’s home district and had been
          transferred to this district by the Judicial Panel on Multi-District Litigation
          pursuant to Section 1407.

 Dkt. 12256 at 1-2 (emphasis added). All Plaintiffs involved in this motion originally filed their

 actions in the Southern District of Indiana, and Indiana’s statute of limitations applies to their

 claims.2

 IV.      Cook’s Motion Properly Relies on Plaintiffs’ Own Claims of Injuries and Medical
          Records as Submitted in Their Case Categorizations.

          Multiple Plaintiffs argue in their responses that Cook may not rely on Plaintiffs’ own

 Case Categorization Forms (CCF) in its summary judgment motion, arguing that the CCFs were

 intended only for the bellwether selection process and that Cook’s use of them here was

 improper. See Dkts. 12229, 12236, 12250, 12267, 12284, 12298, 12299, 12300, 12301, 12303,

 and 12304. Again, the Court has already rejected this argument.

          As the Court will recall, more than two months ago, the Plaintiffs’ Steering Committee

 moved to strike one of Cook’s motions for summary judgment in a separate set of cases (Dkt.

 11502) based on the statute of limitations on this same ground, claiming that the CCFs were for

 bellwether selection only and that Cook’s motion improperly used the CCFs. See PSC’s Mot. to

 Strike, Dkt. 11518. In response, Cook pointed out that the Court’s orders concerning specific

 case categories and CCFs for new cases made clear that the CCFs were intended for case-

 screening purposes as well as bellwether selection, and that Cook was using the CCFs for the

 precise purpose for which they were intended. See Cook’s Reply to PSC’s Motion to Strike,

 Dkt. 11556 at 2-5 (citing, inter alia, the Court’s Orders at Dkts. 9322, 10617, 10632, 11377).


 2
   Should the Court need to refer to Cook’s arguments on these two issues, those arguments
 appear in Cook Defendants’ Reply Memorandum to PSC’s Response to Cook’s Omnibus Motion
 for Summary Judgment Based Upon Statute of Limitations, Dkt. 12172, and Cook incorporates
 those arguments here by reference.

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 Based on these arguments, the Court denied the PSC’s motion to strike and instead set a briefing

 schedule to address that motion on the merits. See Entry on the August 20, 2019 Status

 Conference, Dkt. 11602, p. 1.

          None of the Plaintiffs’ responses to the present motion offers any reason for the Court to

 reconsider this decision; indeed, Plaintiffs’ responses do not even acknowledge that the Court

 has already decided this issue. The Cook Defendants incorporate by reference the arguments

 made in their response to the motion to strike (Dkt. 11556) and ask the Court to reject this effort

 to undermine its existing ruling.

 V.       Cook’s Motion is Timely.

          Several Plaintiffs argue that Cook’s motion is premature, noting that case-specific

 discovery has not been undertaken in these cases and that Plaintiffs have not been deposed. See

 Dkts. 12299, 12301, and 12303.

          Plaintiffs’ legal basis for this objection is unclear; no applicable Local or Federal Rule of

 Civil Procedure and no Order from this Court bars Cook from moving for summary judgment at

 this time. On the contrary, in denying the PSC’s motion to strike Cook’s first omnibus motion

 for summary judgment based on the statute of limitations, the Court made clear that it is prepared

 now to address statute of limitations issues on the merits; if it were not, the Court would have

 had no reason to permit the briefing to go forward. See Entry on the August 20, 2019 Status

 Conference (Dkt. 11602).

          Moreover, best practices for MDL courts recommend taking up early motions for

 summary judgment and motions to dismiss as a means of establishing which MDL cases have

 arguable merit. See JPML & Federal Judicial Center, Ten Steps to Better Case Management, a

 Guide for Multidistrict Litigation Transferee Judges § X(a) (2d ed. 2014), available at



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 https://www.fjc.gov/sites/default/files/2014/Ten-Steps-MDL-Judges-2D.pdf           (explaining    that

 resolution of dispositive motions is the transferee court’s “perhaps most important” task). Such

 rulings help combat the common tactic by plaintiffs of filing time-barred and otherwise meritless

 cases to be included in global settlements, see id.—a tactic that is certainly on display here, as

 both this motion and the now-departed Category 1 and 2 cases demonstrate.

          In fact, sufficient case-specific discovery has occurred in these cases to permit the parties

 and the Court to determine the two undisputed facts on which the present motion turns: (1) the

 objective determination of when these Plaintiffs knew or should have known of their injuries,

 and (2) the dates these Plaintiffs commenced their actions against Cook. The PPS/PFS sheets

 that include the relevant information were provided by Plaintiffs (on penalty of having their

 cases dismissed) and function as “interrogatory answers pursuant to Fed. R. Civ. P. 33 and 34

 and [are] governed by the standards applicable to written discovery under Fed. R. Civ. P. 26

 through 37.” Third Amended Case Management Order No. 4, Dkt. 4226, ¶ 1(c).

          The Court’s case categorization screening measure requires all Plaintiffs to categorize

 their claims, provide “specific medical record(s)” in support of each claimed injury, and certify

 that their counsel has reviewed the records and that the categorizations based on “[t]he

 submission of the specific medical record(s) attached, and submission of [the] form … is the

 proper categorization for Plaintiff’s case to the best of counsel’s knowledge and belief.”

 Categorization Form, Dkt. 9638-1. Through the categorization process, each Plaintiff here

 submitted categorizations forms attesting to their claimed injuries and providing the medical

 records they claim support those alleged injuries. Because these medical records state the dates

 of Plaintiffs’ open retrieval procedures and have been certified as accurate by counsel, the Court

 has sufficient facts to apply the objective standard dictated by Indiana law to determine when the



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 Plaintiffs’ causes of action accrued and the clock started running on the two-year limitation

 period. Importantly, no Plaintiff suggests that Cook has misstated either the date of Plaintiff’s

 open removal surgery or the date on which Plaintiff commenced their action. The facts at

 issue are not in dispute.

          These cases are ripe for adjudication, and Plaintiffs’ own records demonstrate that the

 cases are time-barred as a matter of law—in several instances, by several years. See generally

 Cook Defendants’ Memorandum in Support of Omnibus Motion for Summary Judgment Based

 on Statute Of Limitations, Exhibit A, Dkt. 11922-1 (listing surgery and filing dates).

 VI.      Indiana’s Two-Year Statute of Limitations Bars Plaintiffs’ Tort Claims.

          “In Indiana, statutes of limitation are favored because they afford security against stale

 claims and promote the peace and welfare of society.” Morgan v. Benner, 712 N.E.2d 500, 502

 (Ind. Ct. App.1999), reh’g denied, trans. denied. “They are enacted upon the presumption that

 one having a well-founded claim will not delay in enforcing it.” Id. Further, “[t]he defense of a

 statute of limitation is peculiarly suitable as a basis for summary judgment.” Id. at 502–503; see

 also Runkle v. Runkle, 916 N.E.2d 184, 191 (Ind. Ct. App. 2009) (quoting Morgan).

          Indiana law requires plaintiffs to commence personal injury actions not more than two

 years after the occurrence of the injury at issue. Multiple Plaintiffs argue in their responses that

 although they did not comply with this two-year deadline, their claims are nevertheless timely

 based on a discovery rule that tolls the statute of limitations. See Dkts. 12229, 12236, 12248,

 12250, 12269, 12284, 12295, 12298, 12299, 12300, 12301, 12303, 12304, 12305, 12306, 12307,

 and 12309. These arguments all fail. Plaintiffs’ arguments based on other states’ discovery rules

 fail because Indiana law provides the statute of limitations for these cases, as discussed above.

 Plaintiffs’ arguments based on the Indiana discovery rule misunderstand and misapply that rule,



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 and do not defeat summary judgment. And Plaintiffs’ attempt to avoid the statute of limitations

 through vague claims of fraudulent concealment fail under Federal Rule 9(b).

              A. Plaintiffs Open Surgical Procedures to Remove Their IVC Filters Alerted
                 Them as a Matter of Law to the “Reasonable Possibility” that Their Injuries
                 Resulted from Their Filters.

          Plaintiffs’ open surgical procedures to remove their IVC filters necessarily established as

 a matter of law that their filters were a potential cause of their injuries, and thus commenced the

 running of the statute of limitations. Indiana law holds that the question of when a cause of

 action accrues, and thus when the statute of limitation begins to run, is a question of law for the

 Court. See, e.g., Cooper Indus., LLC v. City of South Bend, 899 N.E.2d 1274, 1280 (Ind. 2009)

 (“The determination of when a cause of action accrues is generally a question of law.”). Only

 when the material facts are disputed does the issue present a jury question. See, e.g., Burks v.

 Rushmore, 534 N.E.2d 1101, 1104 (Ind. 1989).

          In determining when a cause of action accrues, the Court applies an objective standard.

 Schuchman/Samberg Investments, Inc. v. Hoosier Penn Oil Co. Inc., 58 N.E.3d 241, 251 (Ind.

 Ct. App. 2016) (“we must apply an objective standard in determining the accrual date for its

 claims”) (citing Martin Oil Mktg. Ltd. v. Katzioris, 908 N.E.2d 1183, 1188 (Ind. Ct. App. 2009)).

 Under this objective standard, the Court looks to what “a reasonable person in the [plaintiff’s]

 position . . . possessing the information [plaintiff] did when [she] did, could have discovered

 through the exercise of ordinary diligence.” Horn v. A.O. Smith Corp., 50 F.3d 1365, 1370 (7th

 Cir. 1995) (emphasis added). Given this standard, the declarations Plaintiffs have submitted

 concerning their subjective beliefs and their claims that they lacked actual knowledge of




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 particular facts3 have no role in the Court’s inquiry. Doe v. United Methodist Church, 673

 N.E.2d 839, 842 (Ind. Ct. App. 1996) (“our supreme court specifically rejected an application of

 the discovery rule based upon the subjective perspective of the injured person based on the

 injured person’s actual knowledge”) (citing Fager v. Hundt, 610 N.E.2d 246, 250-51 (Ind.

 1993)); Schuchman/Samberg, 58 N.E.3d at 251 (rejecting argument for later accrual date based

 on what plaintiff “subjectively believed”).

          In the present motion, there are only two facts material to each case: the date of

 Plaintiff’s open retrieval procedure and the date that Plaintiff commenced the present action.

 Cook set out these two dates in Exhibit A to its original motion, and none of Plaintiffs’ responses

 disputes any of them. As discussed in Cook’s original memorandum, the surgical removal of a

 medical device from a person’s body objectively and necessarily establishes a “reasonable

 possibility” that the device has harmed the person. See In re Mirena IUD Prods. Liab. Litig.

 (Truitt), 29 F. Supp. 3d 345, 352 (S.D.N.Y. 2014) (holding cause of action accrued on date of

 surgical removal of migrated IUD); Wojcik v. Almase, 451 N.E.2d 336, 342 (Ind. Ct. App. 1983)

 (holding that product liability claims based on broken implantable catheter accrued when device

 was removed, not when plaintiff sought subsequent treatment for retained fragment); see also

 Neuhauser v. A.H. Robins Co., 573. F. Supp. 8, 9-10 (S.D. Ind. 1983) (holding that information

 that presence or removal of IUD could cause miscarriage coupled with subsequent miscarriage

 provided notice of possible link between product and injury and started running of statute of

 limitations).



 3
  Dkt. 12298 at 3 (Plaintiff Kinsey) (“It was not until 2016 that Mr. Kinsey learned that the Filter
 was defective, and that this may have been the reason for his injuries.”); Dkt. 12304 at 5
 (Plaintiff Giddens) (“the two-year statute of limitations did not begin to run until 2015 when
 Plaintiff learned about the defects of his previously removed IVC filter and that he had a
 potential products liability claim”)

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          Also as previously noted, both this Court and the Bard IVC Filter MDL court have

 already rejected the argument that an IVC filter claim could accrue at a point after removal of

 the filter. See Dkt. 5575 (Graham, No. 1:15-cv-00764, granting summary judgment because

 “[t]he injuries described in her Complaint … were known to her immediately after her

 September 9 surgery” and the statute of limitations therefore expired two years later); see also In

 re Bard IVC Filters Prods. Liab. Litig., 2018 WL 3957737, at *4 (D. Ariz. Aug. 17, 2018) (“It is

 not necessary that a plaintiff have knowledge of the exact nature or source of the problem, but

 only that a problem existed.”) (applying similar Nebraska law).

          Here, each of these Plaintiffs had an open surgical procedure to remove an IVC filter.

 Each Plaintiff claims their injury caused the need to undergo the open surgical procedure, and

 they seek compensation both for the costs of such surgeries and for the pain that results from

 them. See Dkt. 213 (Master Consolidated Complaint) at 36 (seeking “[c]ompensatory damages,

 including without limitation past and future medical expenses [and] past and future pain and

 suffering”). It is therefore obvious—indeed, it is axiomatic—that the Plaintiff’s IVC filter was

 the potential factual cause of the Plaintiff’s need to undergo open surgery to remove the IVC

 filter. Any other argument would be absurd. Objectively and as a matter of law, Plaintiffs were

 on notice at the latest as of the dates of their open removal surgeries of the “reasonable

 possibility” that they were injured as the result of their IVC filters. The statute of limitations

 began to run on that date, and Plaintiffs failed to file their cases within the required two years.

          B.       Indiana’s discovery rule does not save Plaintiffs’ claims.

          As noted above, to determine when a reasonably diligent plaintiff should have discovered

 the claimed injury, Indiana courts look at “the date the plaintiff knew or should have discovered

 that she suffered an injury or impingement, and that it was caused by the product or act of



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 another.” Degussa Corp. v. Mullens, 744 N.E.2d 407, 410 (Ind. 2001) (quoting Barnes v. A.H.

 Robins Co., 476 N.E.2d 84, 87-88 (Ind. 1985)).4 Multiple Plaintiffs argue that this limited

 discovery rule saves their untimely-filed claims from Indiana’s statute of limitations, offering

 several variations on the argument.5 None of those arguments justifies applying the discovery

 rule in any of these cases or provides a basis for denying summary judgment.

                   1.   Indiana’s discovery rule does not delay accrual of a cause of a product
                        liability action until the plaintiff discovers that the product was
                        defective.

          No plaintiff suggests they were not injured at least as of the date of their open removal

 surgery. No plaintiff denies that they knew of the injury and that it resulted from or was

 caused by their IVC filter. Each plaintiff claims that an open removal was required because

 their filter could not safely be removed percutaneously. On those facts alone, summary

 judgment is warranted. Instead, several Plaintiffs argue that under Indiana’s discovery rule,

 their causes of action did not accrue and the statute of limitations did not begin to run until they

 discovered that their IVC filters were defective.        (Cook attaches as Exhibit 1 a chart showing

 what Plaintiffs made this argument and what they have argued.) This argument fails because



 4
   Several Plaintiffs argue that their home states’ statutes of limitation or discovery rules save
 their claims from this statute of limitations bar. See Dkt. 12229 at 10-13 (Arizona discovery
 rule); Dkt. 12236 (Florida statute of limitations); Dkt. 12248 at 4-5 (Ohio discovery rule); Dkt.
 12250 at 8 (South Carolina law); Dkt. 12269 at 9-11 (Mississippi law (Plaintiff Lambert) and
 New York law (Plaintiff McCormack)); Dkt. 12284 at 8 (Mississippi); Dkt. 12295 at 8 (Florida
 law); Dkt. 12299 (Oregon); Dkt. 12300 (New York); Dkt. 12301 at 9-14 (Oregon); Dkt. 12303
 (Montana); Dkt. 12305 at 9-10 (Iowa); Dkt. 12306 at 8-9 (Connecticut); Dkt. 12307 at 5-7 (New
 York); Dkt. 12309 at 8-10 (Colorado). As discussed above, however, the Court has already ruled
 that the Indiana statute of limitations governs in cases originally filed in this district. See Dkt.
 12256 at 1-2. All of these Plaintiffs originally filed their cases in this district. Indiana’s statute
 of limitations therefore applies, and statutes and discovery rules from other states cannot save
 their claims.
 5
   Two Plaintiffs generally invoke Indiana’s discovery rule as a ground for avoiding the statute of
 limitations, but they offer no analysis suggesting how it would apply to the facts in their cases.
 See Dkt. 12269 at 12.

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 Indiana law does not require a plaintiff to know that a product is “defective” for a cause of action

 to accrue and for the statute of limitations to begin running.

          Plaintiffs confuse and conflate the discovery of the injury for which compensation is

 sought—confirmed here by the surgical removal of the filter—with the legal theory on which the

 claim for compensation is based—that the filter was defective. The discovery rule’s focus is on

 a link between the injury and the product, not a link between the injury and a defect in the

 product, and the statute begins to run on “the date the plaintiff knew or should have discovered

 that he suffered an injury that was caused by the product or act of another.” Kazmer v. Bayer

 Healthcare Pharm, Inc., 2007 WL 4148003, at *2-3 (N.D. Ind. Nov. 19, 2007) (emphasis added)

 (citing Degussa, 744 N.E.2d at 410).

          Consistent with this, “the discovery rule only postpones the statute of limitations by

 belated discovery of key facts and not by delayed discovery of legal theories.” Perryman v.

 Motorist Mut. Ins. Co., 846 N.E.2d 683, 689 (Ind. Ct. App. 2006). As the Perryman court noted:

          [T]he discovery rule does not mandate that plaintiffs know with precision the
          legal injury that has been suffered, but merely anticipates that a plaintiff be
          possessed of sufficient information to cause him to inquire further in order to
          determine whether a legal wrong has occurred.

 Id.; see also Frey v. Bank One, 91 F.3d 45, 47 (7th Cir. 1996) (“[A] plaintiff need not uncover

 the legal theory for holding a defendant liable for the action to accrue.”) (applying Indiana law)

 (emphasis added).

          Here, Plaintiffs necessarily knew that they had suffered injuries associated with their IVC

 filters at the time they had open surgery to remove those IVC filters. See Wojcik, 451 N.E.2d at

 342; see also Hayes v. Multiband EC Corp., No. 4:13-CV-00167-RLY, 2014 WL 1340679, at *2

 (S.D. Ind. Apr. 4, 2014) (“‘for an action to accrue, it is not necessary that the full extent of the

 damage be known or even ascertainable, but only that some ascertainable damage has


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 occurred’”) (quoting Cooper Indus., LLC, 899 N.E.2d at 1280).             Indeed, Plaintiffs’ own

 submissions confirm that they knew before their surgeries that their filters were “the potential

 cause” of their injuries and therefore had to be removed. See, e.g., Dkt. 12295 at 2 (“On

 February 27, 2012 [two days before his surgery] Plaintiff learned for the first time that he had an

 IVC filter implanted and that the filter was the potential cause of the abdominal pain.”

 (emphasis added)); Dkt 12298 at 3 (“Mr. Kinsey’s physician told him that the Filter needed to be

 removed, but Mr. Kinsey did not know why or how the Filter had come to be in a dangerous

 state.”) (emphasis added).

          Where a Plaintiff’s medical condition necessitated an open surgery to remove the filter, a

 diligent Plaintiff (in the words of the Mirena court) “would know, at the very least, that there

 was a ‘reasonable possibility’” that the filter has caused the Plaintiff injury and the Plaintiff

 “should therefore make further inquiry to determine [their] legal rights.” In re Mirena (Truitt),

 29 F. Supp. 3d at 352. In contrast, knowledge that the injury was caused by a “defect” in the

 filter is not necessary to state the statute running. E.g.. Neuhauser, 573. F. Supp. at 9 (rejecting

 plaintiff’s argument that “her cause of action did not accrue until she discovered the causal

 connection between her injury and the Dalkon Shield”); see also Degussa Corp., 744 N.E.2d at

 411 (“a plaintiff need not know with certainty that malpractice caused his injury, to trigger the

 running of the statutory time period”); Cossman v. DaimlerChrysler Corp., 108 Cal. App. 4th

 370, 380 (2003) (holding under Indiana law that the cause of action accrued when the plaintiff

 was diagnosed with mesothelioma even though doctors “‘couldn’t figure out where’ she had

 contracted the disease”); Hayes, 2014 WL 1340679, at *2 (holding that plaintiff “indisputably

 knew that some damage had occurred to her by July 1, 2011; pursuant to Indiana law, she did not

 need to know ‘beyond a doubt [the defendant] victimized her.’”)



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          This Court addressed an analogous situation in Hayes v. Multiband EC Corp., 2014 WL

 1340679 (S.D. Ind. Apr. 4, 2014). In Hayes, the plaintiff sued a cable service provider for thefts

 from her home by the provider’s employee, and the provider claimed the plaintiff had missed the

 statute of limitations. Id. at *1-2. The provider argued that the statute began to run at the latest

 on July 1, 2011, when the plaintiff identified her items in the employee’s possession; the plaintiff

 argued the statute did not begin to run until the employee plead guilty in December 2011 because

 the employee’s “concealment of his guilt prevented [plaintiff] from knowing with certainty that

 he was responsible.” Id. at *2. The Court rejected the plaintiff’s argument, holding that the

 plaintiff “indisputably knew that some damage had occurred to her by July 1, 2011; pursuant to

 Indiana law, she did not need to know ‘beyond a doubt [defendant] victimized her.’” Id.

 Likewise here, Plaintiffs knew on the dates of their open removal surgeries that they had suffered

 some damage; they did not need to know that the filter had an alleged “defect” or that Cook was

 allegedly responsible for the statute to start running.

          The cases cited by Plaintiffs’ responses in supposed support of their argument are readily

 distinguishable and do not support the application of the discovery rule here. Several Plaintiffs

 cite Nelson v. Sandoz Pharms. Corp., 288 F.3d 954, 966 (7th Cir. 2002), for the propositions that

 “the plaintiff’s suspicion, standing alone, about the source of her injury is insufficient to trigger

 the onset of the limitations period”6 and that the statute of limitations “begins to run on a cause

 of action when ‘the plaintiff knew or, in the exercise of ordinary diligence, could have

 discovered that an injury had been sustained as a result of the tortious act of another.”7 But the

 plaintiff in Nelson had no reason of any kind to associate the lactation-suppression medication



 6
   Dkt. 12250 at 9; Dkt. 12284 at 9, Dkt. 12236 at 9; Dkt. 12299 at 14-15; Dkt. 12303 at 14-15;
 Dkt 12307 at 8, Dkt. 12310 at 9.
 7
   Dkt. 12298 at 12-13.

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 she had taken to her later stroke—in other words, nothing connected the injury to the product.

 The situation here is entirely different—there is no question that Plaintiffs here should have

 connected the IVC filters with the need for their surgical removal. Indeed, the Mirena decision

 noted this very distinction between the notice provided by the removal of a product and the

 situation in Nelson:

                  These conclusions are even more apparent when the facts surrounding
          Plaintiff’s injuries are contrasted with those of the products liability cases cited in
          the parties’ briefs. In these cases, plaintiffs experienced symptoms that were not
          clearly linked to a particular product or substance, and subsequently consulted
          physicians who were unable to state whether there was a reasonable possibility
          that the product caused the plaintiff’s ailments. See, e.g., Nelson, 288 F.3d at
          966-67 (doctor’s initial suggestion of a causal link between drug and stroke did
          not trigger statute of limitations where doctor later dismissed possible
          connection).… Under such circumstances — i.e., when the information from the
          plaintiff’s doctor was not enough to suggest a reasonable possibility that a product
          caused the plaintiff harm — courts have held that the statute of limitations was
          not triggered until a plaintiff received more solid evidence of a causal connection
          between the product and the injury. … Where, however, the information provided
          by the doctor was enough to suggest a reasonable possibility that a product caused
          a plaintiff’s harm, that information was sufficient to trigger the statute of
          limitations.

 In re Mirena (Truitt), 29 F. Supp. 3d at 354 (other citations omitted). In other words, the present

 cases do not involve “the plaintiff’s suspicion, standing alone, about the source of her injury,”

 Nelson, 288 F.3d at 966 (emphasis added). They involve much more: open surgeries to remove

 and eliminate a medical problem caused by the presence of the very product at issue here.

          The same distinction undermines Plaintiffs’ reliance on the Degussa Corp. case for their

 argument that Plaintiff’s ability to understand the nature and extent of her injuries presents

 complex “factually and legally relevant questions” about how her doctors conveyed information

 to her and what emphasis her doctors placed on a “potentially tortious cause over other causes,”




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 creating a factual issue. Dkt 12298 at 14045 at 10 (quoting Degussa Corp., 744 N.E.2d at 411).8

 But like Nelson, Degussa involved a latent injury from a toxic exposure, and the plaintiff had no

 basis on which to associate her lung damage on exposure to the defendants’ products instead of

 some other cause. Id. at 409. In contrast here, Plaintiffs could have had no doubt about the link

 between their IVC filters and the need to surgically remove their IVC filters. See In re Mirena,

 29 F. Supp. 3d at 354 (distinguishing Degussa on same ground as Nelson). Indeed, both

 Degussa and Nelson note that “‘events short of a doctor’s diagnosis can provide a plaintiff with

 evidence of a reasonable possibility that another’s’ product caused his or her injuries.” Degussa,

 744 N.E.2d at 411 (quoting Evenson v. Osmose Wood Preserving Co. of Am., 899 F.2d 701, 705

 (7th Cir. 1990)(applying Indiana law); Nelson, 288 F.3d at 964 (same).9 As this Court has

 already held, an open surgery removing an IVC filter is not a latent injury; it is an obvious, open

 injury that starts the statute of limitations running. Dkt. 5575 (Graham. No 1:15-cv-00764,

 granting summary judgment because “[t]he injuries described in [Graham’s] Complaint … were

 known to her immediately after her September 9 surgery. The limitations period, therefore,

 expired on or about September 10, 2013, nearly two years before she filed her Complaint.”).


 8
   See also Dkt. 12304 at 4; Dkt. 12306 at 10; Dkt. 12309 at 10-11.
 9
   The fact that the ordinary diligence a plaintiff must employ during the limitations period may
 include consulting experts like doctors, lawyers, or even surveyors to gain additional information
 does not alter the rule that a cause of action accrues and the statute of limitations begins to run
 when a plaintiff has information linking a product and an injury. See, e.g., Custom Radio Corp.
 v. Actuaries & Benefit Consultants, Inc., 998 N.E.2d 263, 269 (Ind. Ct. App. 2013) (holding
 “causes of action accrued and the statutes of limitation began to run on the date [plaintiff] knew
 or, through ordinary diligence, could have discovered that their Welfare Benefit Plans were non-
 compliant with subsection 419(A)(f)(6) and that their plan contributions were retroactively
 taxable”); Runkle v. Runkle, 916 N.E.2d 184, 192 (Ind. Ct. App. 2009) (“we conclude as a matter
 of law that she (or her attorney) knew or should have known prior to June 3, 2003, that she had
 suffered some sort of injury as a result of Fifth Third Bank’s allegedly wrongful actions”);
 Shaum v. McClure, 902 N.E.2d 853, 857 (Ind. Ct. App. 2009) (“We conclude that, in the
 exercise of ordinary diligence, the [plaintiffs] should have known of the land dispute and
 discovered the survey error in 1997 when [defendant] constructed his residence on the disputed
 property.”).

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          One Plaintiff also cites Wehling v. Citizens Nat’l Bank, 586 N.E.2d 840, 843 (Ind. 1992)

 for the proposition that accrual of an action under the discovery rule requires a link between the

 injury and “the tortious act of another.” See, e.g., Dkt. 12304 at 4. But in Wehling, the plaintiffs

 did not argue that they did not know whether their injury had been caused by the tortious act of

 another, but that they had no reason to suspect they had been injured at all until they tried to sell

 their property and discovered it had already been sold. In contrast here, Plaintiffs’ open surgical

 removals are alleged to be an injury, or a treatment necessary because of an injury, that is

 undeniably linked to their filters. Moreover, both before and after Wehling, the Indiana Supreme

 Court has made clear that the necessary knowledge was the link between the injury and the

 product or act of another, and not between the injury and a product defect or other specific

 tortious conduct. See Barnes v. A.H. Robins Co., 476 N.E.2d 84, 87-88 (Ind. 1985) (holding that

 statute of limitations begins “to run from the date the plaintiff knew or should have discovered

 that she suffered an injury or impingement, and that it was caused by the product or act of

 another”); Degussa Corp. v. Mullens, 744 N.E.2d 407, 410 (Ind. 2001) (same language, quoting

 Barnes).

          In sum, at most, once Plaintiffs had open surgeries to remove their IVC filters, they knew

 of their injuries and an association with their filters. At that point, they had two years to

 investigate whether they had the basis to pursue legal claims against Cook and to commence

 their actions.    See, e.g., Schuchman/Samberg Investments, 58 N.E.3d at 251 (holding that

 knowledge site was used for disposal and observation of stained soil was “sufficient to trigger its

 duty to inquire further in order to determine whether a legal wrong had occurred”). Knowledge

 of a product defect or other legal theory is not necessary to start the statute running. Simply put,

 “[t]he discovery rule is not intended to toll the limitation period until optimal litigation



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 conditions can be established.” Rieth-Riley Const. Co. v. Gibson, 923 N.E.2d 472, 476 (Ind. Ct.

 App. 2010).

                     2. Indiana’s discovery rule does not delay accrual of a cause of a product
                        liability action until the plaintiff discovers the identity of the
                        manufacturer.

          Two Plaintiffs suggest that under Indiana’s discovery rule, their cause of action did not

 accrue and the statute of limitations did not begin to run until they discovered that their IVC

 filters were manufactured by Cook.10 Plaintiffs cite no authority for such a rule, and Indiana law

 holds otherwise. As discussed above, Indiana’s discovery rule turns on the date the plaintiff

 knew or should have discovered that she suffered an injury and that it was caused by a product.

 Degussa Corp., 744 N.E.2d at 410. Nothing in this rule tolls the statute until the plaintiff

 discovers the identity of the product’s manufacturer. See Rieth-Riley Const. Co. v. Gibson, 923

 N.E.2d 472, 476 (Ind. Ct. App. 2010) (holding discovery rule does not extend limitations period

 where indeterminate fact was identity of tortfeasor, not existence of injury). Moreover, Plaintiffs

 do not and cannot claim that they could not in the exercise of ordinary diligence have discovered

 that their filters were manufactured and sold by Cook within the permitted two years by

 requesting and examining their own medical records. The discovery rule does not apply.

 VII.     Plaintiffs’ Claims of Fraudulent Concealment and Equitable Tolling Do Not Prevent
          the Running of the Statute of Limitations Against Them.

          Multiple Plaintiffs argue in their responses that the claims of fraudulent concealment in

 the Master Consolidated Complaint save their claims from Indiana’s statute-of-limitations bar.

 See Dkts. 12229, 12236, 12248, 12250, 12284, 12295, 12299, 12300, 12301, 12304, 12306,

 12307, and 12309. These arguments fail for several reasons. Plaintiffs have not plead their


 10
   Dkt. 12299 at 2 (“In late 2018, Plaintiff became aware that the IVC filter that was implanted in
 her was manufactured by Cook.”); Dkt. 12301 at 2 (“In late 2015, Plaintiff became aware that
 the IVC filter that was implanted in him was manufactured by Cook.”).

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 claims of fraudulent concealment with the particularity required by Rule 9(b), they have not

 plead that any conduct by Cook prevented them from learning of their injuries, and the claims

 fail as a matter of law because the medical records Plaintiffs themselves submitted establish that

 Plaintiffs had sufficient information to satisfy the objective standard for the accrual of their

 causes of action.

           A.      Plaintiffs have not pleaded fraudulent concealment with the particularity
                   required by Rule 9(b).

                   1.    Rule 9(b) requires Plaintiffs to plead fraudulent concealment with
                         particularity.

           Because pleading is procedural, the federal rules govern pleading requirements in federal

 courts.    “Under F.R.Civ.P. 9(b), the party alleging fraudulent concealment must plead the

 circumstances giving rise to it with particularity.” Dayco Corp. v. Goodyear Tire & Rubber Co.,

 523 F.2d 389, 394 (6th Cir. 1975); see also Larson v. Northrop Corp., 21 F.3d 1164, 1173 (D.C.

 Cir. 1994) (“Another requirement is that allegations of fraudulent concealment, which toll the

 statute of limitations, must meet the requirements of Fed. R. Civ. P. 9(b).”). This Court has itself

 applied Rule 9(b)’s particularity requirement to a plaintiff’s claim that fraudulent concealment

 tolled a statute of limitations. See Leathermon v. Grandview Mem’l Gardens, Inc., No. 4:07-CV-

 137-SEB-WGH, 2011 WL 2445980, at *8–9 (S.D. Ind. June 15, 2011) (imposing Rule 9(b)’s

 particularity requirement to claim that fraudulent concealment tolled statute of limitations and

 finding requirement was met).

           Under Rule 9(b), when fraud is alleged, “[t]he plaintiff must describe the ‘who, what,

 when, where, and how’ of the fraud—‘the first paragraph of any newspaper story.’” United

 States ex rel. Berkowitz v. Automation Aids, Inc., 896 F.3d 834, 839 (7th Cir., 2018) (quoting

 United States ex rel. Lusby v. Rolls–Royce Corp., 570 F.3d 849, 853 (7th Cir. 2009)); In re

 Bridgestone/Firestone, Inc. Tires Prod. Liab. Litig., 155 F. Supp. 2d 1069, 1109 (S.D. Ind. 2001)

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 (dismissing plaintiffs’ claims under Michigan and Tennessee consumer protection statutes for

 failure to meet the heightened pleading requirements of Rule 9(b), including failure to allege

 “individual reliance”). The Seventh Circuit’s case law on Rule 9(b) requires that a plaintiff must

 allege at least the specific circumstances of the alleged fraud – the who, what, and how – to meet

 the particularity requirement. See, e.g., Windy City Metal Fabricators & Supply, Inc. v. CIT

 Tech. Fin. Servs., Inc., 536 F.3d 663, 669 (7th Cir. 2008) (affirming dismissal under Rule 9(b)

 where “the complaint failed to plead with particularity the who, when and how of the alleged

 frauds, all of which are required by Rule 9(b) for allegations of fraud”).

                   2.    Plaintiffs have not plead fraudulent concealment with particularity.

          Here, Plaintiffs’ allegations of fraudulent concealment are indefinite and non-specific,

 and they provide none of the detail necessary to state a claim sufficient to toll the statute of

 limitations. The relevant section of Plaintiffs’ Master Consolidated Complaint alleges:

                        TOLLING OF THE LIMITATIONS PERIOD

                  195. Defendants, through its affirmative misrepresentations and omissions,
         actively concealed from Plaintiffs and Plaintiffs’ healthcare providers the true and
         significant risks associated with Cook’s IVC Filters.
                  196. As a result of Defendants’ actions, Plaintiffs and their prescribing
         physicians were unaware, and could not have reasonably known or have learned
         through reasonable diligence, that Plaintiffs had been exposed to the risks
         identified in this Master Complaint, and that those risks were the result of
         Defendants’ acts, omissions, and misrepresentations.
                  197. Accordingly, no limitations period ought to accrue until such time as
         Plaintiffs knew or reasonably should have known of some causal connection
         between Plaintiffs being implanted with a Cook IVC Filter and the harm Plaintiffs
         suffered as a result.
                  198. Additionally, the accrual and running of any applicable statute of
         limitations have been tolled by reason of Defendants’ fraudulent concealment.

 Dkt. 213 at 36.

          These vague, general allegations fall far short of the particularity required by Rule 9(b).

 Plaintiffs do not allege who at Cook concealed information from Plaintiffs or their doctors, what


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 specific information Cook allegedly concealed, or how that concealment occurred. They are at

 most an allegation of a failure to disclose general information, not a specific allegation of

 fraudulent concealment of specific information. They are wholly insufficient under Rule 9(b),

 see Windy City Metal, 536 F.3d at 669, and cannot support tolling Plaintiffs’ statutes of

 limitations under the doctrine of fraudulent concealment.

          B.       Plaintiffs’ claims of fraudulent concealment do not allege concealment of
                   their causes of action and thus cannot toll the statute of limitations.

          Even assuming for the sake of argument that Plaintiffs had plead their fraudulent

 concealment claim with the required particularity, those pleadings cannot justify tolling the

 statute of limitations on Plaintiffs’ claims because they do not relate to the accrual or discovery

 of Plaintiffs’ claims.

          Plaintiffs’ responses consistently misunderstand and misapply the doctrine of fraudulent

 concealment. To invoke fraudulent concealment tolling the statute of limitations under Indiana

 law, it is not enough for a plaintiff to claim that the defendant concealed information about the

 dangers of the product at issue and thereby caused the plaintiff’s injury; a plaintiff must allege

 that the defendant fraudulently concealed information about the existence of the plaintiff’s

 cause of action itself. The Indiana Supreme Court has described this requirement as follows:

          “Fraudulent concealment is an equitable doctrine that operates to estop a defendant from
          asserting the statute of limitations as a bar to a claim whenever the defendant ... ‘has,
          either by deception or by a violation of duty, concealed from the plaintiff material facts
          thereby preventing the plaintiff from discovering a potential cause of action.’” Doe v.
          Shults–Lewis Child & Family Servs., Inc., 718 N.E.2d 738, 744–45 (Ind.1999) (quoting
          Fager v. Hundt, 610 N.E.2d 246, 251 (Ind.1993)). In such cases, equity will toll the
          commencement of the applicable time limitation until such time as the plaintiff discovers,
          or in the exercise of ordinary diligence should discover, the existence of the cause of
          action. Id. The plaintiff then has “a reasonable amount of time” after that date to file his
          complaint.2 Alldredge v. Good Samaritan Home, Inc., 9 N.E.3d 1257, 1261 (Ind.2014)
          (quoting Shults–Lewis Child & Family Servs., 718 N.E.2d at 745).




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 Lyons v. Richmond Cmty. Sch. Corp., 19 N.E.3d 254, 260 (Ind. 2014) (emphasis added).11 “To

 invoke the doctrine where no fiduciary relationship exists between the parties,12 … a plaintiff

 must show that the wrongdoer was not simply silent but committed affirmative acts designed to

 conceal the cause of action.” Horn, 50 F.3d at 1372 (citing, inter alia, Malachowski v. Bank

 One, Indianapolis, 590 N.E.2d 559, 563 (Ind. 1992).

          Plaintiffs here make no allegation that Cook committed any affirmative act to prevent

 them from discovering that they had possible causes of action against the company. Indeed,

 Plaintiffs do not even allege that Cook knew before being sued in these actions that these

 Plaintiffs had causes of action against the company. Every Plaintiffs’ allegations concerning

 Cook’s supposed fraudulent concealment focuses entirely on Cook alleged concealment of

 information concerning the risks of its products. See, e.g., Dkt. 213 (Master Consolidated

 Complaint) at 36, ¶¶ 195-198; Dkt. 12306 at 12-14 (quoting Master Complaint passages and

 testimony from Brand trial that allege Cook failed to disclose risks of filters); Cook’s Dkt. 12307

 at 11-16 (same); 12300 at 16-22 (same). As this Court already held in its decision in the Graham


 11
    Equitable tolling, which some Plaintiffs also invoke, imposes the same requirement that a
 defendant’s conduct relate to the plaintiff’s knowledge of the existence of a cause of action. See
 Marshall v. Hyundai Motor Am., 51 F. Supp. 3d 451, 462 (S.D.N.Y. 2014) (“Equitable tolling
 applies where a defendant’s fraudulent conduct results in a plaintiff’s lack of knowledge of a
 cause of action.”). Here, Plaintiffs rest their equitable tolling argument on their claim of
 fraudulent concealment. See Dkt. 213 (Master Consolidated Complaint) at 36, ¶ 199
 (“Defendants are equitably estopped from asserting any limitations defense by virtue of their
 fraudulent concealment”); see also Burnett v. Villaneuve, 685 N.E.2d 1103, 1111 (Ind. Ct. App.
 1997) (holding that under Indiana law, a claim of equitable estoppel depends on allegations of
 fraud). Cook therefore treats the two arguments together.
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    Plaintiffs here do not allege that Cook had a fiduciary relationship with them (e.g., a doctor-
 patient relationship) that imposed on Cook an affirmative duty to disclose to Plaintiffs that they
 might have a cause of action against Cook. See Lyons v. Richmond Cmty. Sch. Corp., 19 N.E.3d
 254, 261 (Ind. 2014) (discussing passive fraudulent concealment, in which the special
 relationship between the parties imposes a duty on a defendant to disclose an alleged wrongful
 act to the plaintiff). Because Plaintiffs make no such allegation, the medical malpractice cases
 Plaintiffs cite are inapposite.


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 case, absent allegations of affirmative conduct designed to prevent these Plaintiffs from

 discovering their causes of action, fraudulent concealment does not toll the statute of limitations

 and cannot defeat summary judgment. See Dkt. 5575 (Graham Order, stating “even if the

 doctrine [of fraudulent concealment] could apply to [Plaintiff’s] claims, Graham does not allege

 any affirmative conduct by the Cook Defendants that was designed to prevent, and did prevent,

 her from discovering her cause of action”).

              C. Plaintiffs’ claim of fraudulent concealment would not toll the statute of
                 limitations on their claims.

          Even assuming Plaintiffs had plead claims of fraudulent concealment with sufficient

 particularity and that those claims related to Plaintiffs’ knowledge of their causes of action, those

 claims fail as a matter of law to save Plaintiffs from the statute of limitations.

          As one treatise explains, fraudulent concealment cannot toll the running of the statute of

 limitations if the plaintiff nevertheless has sufficient knowledge of the claim to start the statute

 running:

          Fraudulent concealment can exist only if the plaintiff lacked the requisite
          knowledge pertinent to its cause of action until the time that the applicable
          limitations period expired. … Nor may the plaintiff rely on the doctrine of
          fraudulent concealment simply because its knowledge was somewhat delayed or
          incomplete. On the contrary, the statutory limitations period begins running as
          soon as the plaintiff has sufficient actual knowledge to be aware of its claim,
          even though it lacks some of the details of its cause of action and does not
          discover the full enormity of the defendant’s wrongdoing until later.

 32 Am. Jur. Proof of Facts 3d 129. Indiana law applies this common-sense standard. See, e.g.,

 Ludwig v. Ford Motor Co., 510 N.E.2d 691, 697 (Ind. Ct. App. 1987) (holding plaintiff’s early

 knowledge of problems with trucks foreclosed any claim that defendants had fraudulently

 concealed facts showing the existence of a cause of action). See also Miller v. A.H. Robins Co.,

 766 F.2d 1102, 1106 (7th Cir. 1985) (“when a plaintiff learns of information that would lead to



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 the discovery of the cause of action through diligence, the statute of limitations begins to run,

 regardless of concealment”) (applying Indiana law).

          This Court applied this common sense approach to reject a claim of fraudulent

 concealment in the Hayes case.        In Hayes, the plaintiff claimed that the cable company’s

 employee’s failure to immediately plead guilty “concealed the crime from her,” tolling the

 statute of limitations until he actually plead guilty. 2014 WL 1340679 at *3. The Court rejected

 this argument, noting that the plaintiff herself had reported the crime and confirmed that the

 items the employee possessed were hers. Id. The Court therefore concluded that the employee’s

 “denial of responsibility did not hinder [Plaintiff’s] ability to investigate her claim.” Id.

          Similarly here, no conduct by Cook hindered Plaintiffs’ ability to investigate whether the

 IVC filter that there doctors had removed provided any basis for a legal claim against Cook. On

 the contrary, as discussed above, Plaintiffs all knew that they had had medically recommended

 open filter removal surgeries on specific dates, and thus had become aware at least by those dates

 of the “reasonable possibility” that their filters caused their injuries. Plaintiffs do not and cannot

 allege any conduct by Cook that concealed or could have concealed from Plaintiffs the critical

 fact that their doctors judged their filters to be of sufficient concern to justify surgical removal

 and performed those surgeries. Plaintiffs failed to commence their actions within the statutorily

 required period after that date, and the statute of limitations therefore bars their claims. The

 undisputed facts thus establish that Cook could not have fraudulently concealed Plaintiffs’ causes

 of action from Plaintiffs because Plaintiffs already had the knowledge of their injuries necessary

 to put them on inquiry notice and commence the statute of limitations.

 VIII. Plaintiffs’ Other Claims Also Fail as a Matter of Law




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          Plaintiffs’ responses fail to create a genuine issue of material fact as to any of Plaintiffs’

 other claims, and Cook is entitled to summary judgment on those claims.

          A.       Plaintiffs’ Express Warranty Claims Fails Because, as the Court Has
                   Previously Ruled, the Master Complaint Fails to State Sufficient Allegations
                   to Support This Claim

          The vast majority of Plaintiffs do not contest Cook’s entitlement to summary judgment

 on their express warranty claims, and one Plaintiff even acknowledges that “The Court has

 already ruled that the express warranty allegations in the Master Complaint are not sufficient to

 state a claim for breach of express warranty independently of specific warranty allegations in a

 plaintiff’s Short Form Complaint.” Dkt. 12261 at 16 n.2 (citing the Court’s decision in Apple,

 Dkt. 4918 at 13-14). Cook is therefore entitled to summary judgment as to those Plaintiffs’

 express warranty claims.

          Only Plaintiffs McCormack and Lambert oppose Cook’s motion for summary judgment

 on their express warranty claims, arguing that the Court’s order in the Emily Apple case

 addressed only whether Plaintiff Apple had properly plead an express warranty of future

 performance, as required under Texas law to avoid the statute of repose. See Dkt. 12269 at 13.

 Because these Plaintiffs are not from Texas and Cook has not argued the statute of repose, they

 argue, the Apple holding does not apply here. See id. What Plaintiffs overlook, however, is that

 the Court also based its decision in Apple on that Plaintiff’s failure to allege reliance on the

 alleged express warranty.      See Dkt. 4918 at 15 (“Apple fails to establish the reliance element

 because she does not claim that she actually read or relied on the Patient Guide’s language.”).

 That holding applies here as well; neither the Master Complaint nor these Plaintiffs’ short-form

 complaints allege any reliance on any express warranty by Cook. See, e.g., Dkt. 213 at 22-23

 ¶¶ 93-99. Plaintiffs McCormack and Lambert do not deny that the express warranty claims in



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 their respective home states of New York and Mississippi13 require the element of reliance, nor

 could they do so. See N.Y. UCC § 2-313 (providing that affirmation of fact or promise is

 express warranty only if it “becomes part of the basis of the bargain”); Miss. Code § 11-1-63(4)

 (requiring proof in express warranty claim that “the claimant justifiably relied” on the warranty

 in electing to use the product). The Court’s holding in the Apple case applies here, and Cook is

 entitled to summary judgment on Plaintiffs McCormack and Lambert’s express warranty claims.

          B.       Plaintiffs’ Implied Warranty Claims Are Subject to Indiana’s Two-Year
                   Statute of Limitations and Therefore Fail with Their Other Tort Claims.

          Other than the general “discovery rule” arguments discussed above, only one Plaintiff

 contests Cook’s entitlement to summary judgment on his claim for breach of implied warranty.

 See Dkt. 12298 at 16 (Plaintiff Kinsey). Plaintiff Kinsey argues that Cook’s motion made no

 specific argument concerning implied warranty, and therefore has not properly presented the

 issue. See id. Plaintiff Kinsey is mistaken; Cook specifically included Plaintiffs’ implied

 warranty claims in its statute-of-limitations argument addressing all of Plaintiffs’ tort claims.

 See Dkt. 11922 at 7 n.5.

          Plaintiff Kinsey’s only other argument is that Indiana law does not apply and that the

 Court should deny summary judgment on implied warranty just as it should on his other claims.

 Dkt. 12298 at 16. But again, the Court has held that the Indiana statute of limitations applies,

 Dkt. 12256 at 1-2, and Indiana applies the two-year product-liability statute of limitations to

 personal injury claims based on breach of implied warranty. See Ind. Code § 34-20-1-1; see also

 B & B Paint Corp. v. Shrock Mfg., Inc., 568 N.E.2d 1017, 1019 (Ind. Ct. App. 1991) (noting that

 action for negligence or strict liability couched in terms of breach of warranty under the UCC is

 13
   Cook does not concede that New York and Mississippi law respectively govern the claims of
 Plaintiffs McCormack and Lambert, but refers to those states’ laws because Plaintiffs invoke
 them in their response. See generally Dkt. 12269. Cook reserves the right to contest what state’s
 law governs these Plaintiffs’ substantive claims.

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 nevertheless subject to product liability statute of limitations).      Plaintiff Kinsey failed to

 commence his action within two years of its accrual, and Cook is therefore entitled to summary

 judgment on his implied warranty claim, just like his other tort claims.

          C.       Plaintiffs Failed to Plead Their Consumer Fraud Claims with the
                   Particularity Required by Rule 9(b).

          Cook is entitled to dismissal of Plaintiffs’ claims of statutory consumer fraud because

 Plaintiffs failed to plead those claims with particularity as required by Federal Rule of Civil

 Procedure 9(b).     As noted above, a plaintiff alleging fraud must plead the “who, what, when,

 where, and how” of the fraud. Berkowitz, 896 F.3d at 839.

          Virtually all the Plaintiffs who responded on this issue baldly asserted that the current

 Master Complaint adequately pleads fraud, parroting various general statements from the Master

 Complaint alleging that Cook had certain knowledge and failed to disclose it. See, e.g., Dkt.

 12310 at 10-11; Dkt. 12284 at 10-11. But nothing in the Master Complaint provides the required

 “who, what, when, where, and how” this supposed fraud occurred. The passages Plaintiffs cite

 and quote are simply vague, general allegations of the type suitable for Rule 8 notice pleading of

 common law torts; indeed, some Plaintiffs all but admit that these allegations claim nothing more

 than a failure to warn. See, e.g., Dkt. 12309 at 11 (“Plaintiff’s Master Complaint in this case

 contains numerous allegations that the Cook Defendants had knowledge of the defects with its

 IVC Filters yet failed to warn doctors and patients.”). Plaintiffs’ pleadings do not provide the

 required particularity, and their statutory consumer fraud claims fail under Rule 9(b).14


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    A number of Plaintiffs also recite passages from exhibits admitted in the Brand trial and
 testimony by Plaintiff’s Brand’s expert witnesses in that trial in supposed support of their
 consumer fraud claims. See, e.g., Dkt. 12310 at 11-13; Dkt. 12284 at 11-14. These passages do
 not satisfy Rule 9(b)’s particularity requirement for two reasons. First, the passages Plaintiffs
 cite are trial evidence, not pleadings, and thus by definition cannot satisfy Rule 9(b)’s pleading
 requirement. See Miller v. Gain Fin., Inc., 995 F.2d 706, 709 (7th Cir. 1993) (“In this case,
 appellants attempted to rely on affidavits for [Rule 9(b)’s] particularity requirement. We find

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          Two Plaintiffs claim that Rule 9(b) does not require them to plead fraud with particularity

 because the state consumer protection statutes under which they assert their claims do not require

 fraud as an element. See Dkt. 12269 at 12-19 (Plaintiffs McCormack and Lambert). These

 Plaintiffs assert that the New York and Mississippi statutes under which they assert their claims

 permit but do not require allegations of fraud. See id. at 17 (citing N.Y. Gen. Bus. Law § 349),

 18 (citing Miss. Code § 75-24-5). Therefore, Plaintiffs argue, they need not plead their claims

 under these statutes with particularity, citing (inter alia) Windy City Metal Fabricators & Supply,

 Inc. v. CIT Tech. Fin. Servs., 536 F.3d 663 (7th Cir. 2008) (holding that the plaintiff’s claims

 under Illinois Consumer Fraud Act need not be plead with particularity under Rule 9(b)).

          But Windy City and the other cases Plaintiffs cite make clear that the courts are looking at

 the substance of the allegations in deciding whether Rule 9(b)’s fraud-particularity requirement

 applies.    The Windy City court held that the plaintiffs did not need to plead their Illinois

 Consumer Fraud Act Claim with particularity because that plaintiff’s specific claim did not in its

 substance allege fraud, only “an unfair trade practice.” 536 F.3d at 669. In contrast, as Plaintiffs

 acknowledge, the Seventh Circuit has also held that Rule 9(b) does apply to a claim under the

 same statute where the substance of the plaintiff’s claims in that action actually claimed fraud.

 See Dkt. 12269 at 16 (citing Pirelli Armstrong Tire Corporation Retiree Medical Benefits Trust

 v. Walgreen Co., 631 F.3d 436, 440 (7th Cir. 2011)).

          Thus, as Plaintiffs recognize, the determining factor on the fraud-pleading requirement is

 the substance of Plaintiffs’ claims under the New York and Mississippi statutes; if Plaintiffs in


 that to be insufficient, since affidavits are not formal pleadings.”). Second, even if Plaintiffs had
 alleged these passages in their pleadings, they are simply vague, general statements concerning
 Cook’s conduct with respect to its products. None of the statements or testimony cited even
 remotely addresses the required “who, what, when, where, and how” of how Cook supposedly
 intentionally misled the Plaintiffs involved in this motion.


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 fact base their statutory claims on allegations of fraud, they must plead those allegations with

 particularity under Rule 9(b). But Plaintiffs’ response never addresses the substance of their own

 allegations, and it is not difficult to see why. The allegations in Count VII of the Master

 Consolidated Complaint, which sets out the allegations underlying Plaintiffs’ New York and

 Mississippi statutory claims, are replete with express allegations of just the kind of fraud and

 intentional misrepresentation that Rule 9(b) was intended to address:

                  114. Defendants engaged in unfair, unconscionable, deceptive,
          fraudulent and misleading acts or practices in violation of all states’ consumer
          protection laws, identified below.
                  115. Through its false, untrue and misleading promotion of Cook’s
          IVC Filters, Defendants induced Plaintiffs to purchase and/or pay for the purchase
          of Cook’s IVC Filters.
                  116. Defendants misrepresented the alleged benefits and characteristics
          of Cook’s IVC Filters; suppressed, omitted, concealed, and failed to disclose
          material information concerning known adverse effects of Cook’s IVC Filters;
          misrepresented the quality and efficacy of Cook’s IVC Filters as compared to
          much lower-cost alternatives; misrepresented and advertised that Cook’s IVC
          Filters were of a particular standard, quality, or grade that they were not;
          misrepresented Cook’s IVC Filters in such a manner that later, on disclosure of
          the true facts, there was a likelihood that Plaintiffs would have opted for an
          alternative IVC Filter or method of preventing pulmonary emboli.
                  117. Defendants’ conduct created a likelihood of, and in fact caused,
          confusion and misunderstanding. Defendants’ conduct misled, deceived, and
          damaged Plaintiffs, and Defendants’ fraudulent, misleading, and deceptive
          conduct was perpetrated with an intent that Plaintiffs rely on said conduct by
          purchasing and/or paying for purchases of Cook’s IVC Filters. Moreover,
          Defendants knowingly took advantage of Plaintiffs, who were reasonably unable
          to protect their interests due to ignorance of the harmful adverse effects of Cook’s
          IVC Filters.
                  118. Defendants’ conduct was willful, outrageous, immoral, unethical,
          oppressive, unscrupulous, unconscionable, and substantially injurious to
          Plaintiffs and offends the public conscience.

 Dkt. 213 at 26-27 (emphasis added). Plaintiffs McCormack and Lambert do not and cannot

 dispute that these allegations allege fraud. Thus, even assuming arguendo that some sets of

 allegations under the New York and Mississippi consumer protection statutes would not require

 pleading with particularity, Rule 9(b)’s particularity requirement clearly applies to the


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 substantive allegations of fraud these Plaintiffs make here. Because Plaintiffs failed to plead

 those claims with particularity, Cook is entitled to the dismissal of Plaintiffs’ statutory consumer

 fraud and consumer protection claims.

          D.       Plaintiffs’ Derivative Claim for Loss of Consortium and Punitive Damages
                   Fail Because They Cannot Stand on Their Own.

          No Plaintiff disputes Cook’s argument that claims for loss of consortium and punitive

 damages are derivative claims that fail if the substantive claims from which they derive fail.

 Plaintiffs simply argue that some of their other claims survive summary judgment and thus save

 their derivative claims for loss of consortium, where applicable, and for punitive damages.

 Because Cook is entitled to summary judgment on the Plaintiffs’ primary claims for the reasons

 discussed above, Cook is likewise entitled to summary judgment on these derivative claims

 because there is no viable claim to serve as an anchor for these derivative claims.

                                          CONCLUSION

          For the foregoing reasons and the reasons detailed in Cook’s original memorandum, the

 Cook Defendants are entitled to summary judgment on the claims brought by these Plaintiffs.

                                               Respectfully Submitted,

 Dated: November 12, 2019                      /s/ Andrea Roberts Pierson
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                                             Attorneys for the Defendants Cook Incorporated,
                                             Cook Medical LLC, and William Cook Europe ApS




                                CERTIFICATE OF SERVICE

          I hereby certify that on November 12, 2019, a copy of the foregoing COOK

 DEFENDANTS’ REPLY MEMORANDUM IN SUPPORT OF THEIR RENEWED

 OMNIBUS MOTION FOR SUMMARY JUDGMENT BASED ON APPLICABLE

 STATUTE OF LIMITATIONS was filed electronically and notice of the filing of this

 document will be sent to all parties by operation of the Court’s electronic filing system to

 CM/ECF participants registered to receive service in this matter. Parties may access this filing

 through the Court’s system.



                                                       /s/ Andrea Roberts Pierson




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